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                                  UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                                 Case No. 14cr3660-AJB

                                            Plaintiff,
                         vs.
                                                                 JUDGMENT OF DISMISSAL
E-World Recyclers, LLC(3),

                                         Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has
☐
     granted the motion of the Government for dismissal of this case, without prejudice; or

☐    the Court has dismissed the case for unnecessary delay; or

☒    the Court has granted the motion of the Government for dismissal, without prejudice; or

☐    the Court has granted the motion of the defendant for a judgment of acquittal; or

☐    a jury has been waived, and the Court has found the defendant not guilty; or

☐    the jury has returned its verdict, finding the defendant not guilty;

☒    of the offense(s) as charged in the Indictment/Information:
     18:371; 18:2323(b) ‐ Conspiracy; Forfeiture(1); 18:2320(a); 28:2323(b) ‐ Trafficking in Counterfeit Goods;
     Forfeiture(2‐9)




Dated: 2/23/2017
                                                           Hon. Barbara L. Major
                                                           United States Magistrate Judge
